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EXHIBIT B
Case 1-17-43007-ess Doc 62-2 Filed 12/10/19 Entered 12/10/19 14:06:50

he
Qs SingleSource

Exterior BPO

1000 Noble Energy Drive

Suite 300
Canonsburg,Pa 15317

 

 

 

 

 

 

 

 

 

 

Property Address: 11882 Metropolitan Ave, Unit 1F, KEW GARDENS, NY 11415

Borrower Cove Angela Inspection Date 12/4/2019 Effective Date 12/5/2019
APN ) Loan # Order ID

‘Company Premier Metro Realty Corp Name | Azad Kafarov

‘Phone 718-717-2211 Fax 718-484-3733 [Email azad@etalrealty.com
‘Address 2964 Brighton 6th St BROOKLYN NY 11235 Distance from the Subject | 9.7 Miles

 

|. General Conditions

 

 

 

 

 

 

 

 

 

 

 

 

 

Property Type Condo
Occupancy Owner
Type of Ownership Fee Simple
# Of Units 1
Data Source Tax Records
Property Condition Average
| HOA Yes
HOA Fees $1
HOA Assoc, Name No assoc name
Land Value $11,560
Assessed Value $115,502
Annual Property Tax $12,169
Annual Appreciation So

 

Phone

917-000-0000

 

Fees Include

 

Monthly Rental Value

 

$2,700

 

 

 

The subject is a condominium that is located at 11882 Metropolitan Ave #1F, Kew Gardens, NY 11

Subject Description

The owner-occupant is Cove Angela that was sold last 01/16/2003 for $390,000.

415. It has 1415 sqft GLA and was built in 2002.

 

 

 

 

 

 

 

 

 

Repairs :

Category Cost Category Cost
Exterior Paint S Foundation S
Siding / Trim Repair S Fencing S
Exterior Doors S Landscaping S
Windows S Pool S$
Garage S Other S
Roof / Gutters S Other S
Fire Damage S Other S

 

 

 

 

 

Total Estimated Exterior Repairs

$

Subject Condition and Repair Comments

|

 

The subject is in average condition with no repairs.

 

 
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Il. Subject Sales and Listing History

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Currently Listed? No IBy: //
List Date Orig List Price Current List Price MLS#
$ SO

| Prior History (36 Month)

|Original List Price| Original List Date DOM Date Listed Date Sold List Price Sale Price Notes
$ $
$ $
$ $

Analysis of Current and Prior Listing History:
There is no additional sale/listing that has occurred in the past 36 months.
itl. Neighborhood Market Data
Location | Urban lLocal Economy is Stable Housing Supply is In Balance

 

‘Number of Lisiting is |

 

Stable Normal Marketing Time

Over 6 Months

 

 

 

 

 

 

 

 

 

 

 

 

 

Total # of Active Listings in the subject's specific MLS district 15
Total # of Sales in the subject's specific MLS district in the past 12 months 10
# of REO Sales in the subject's specific MLS district in the past 12 months 0
# of Boarded Properties on Subject Street 0
# of Rentals on the market in the subject's specific MLS district 1
Predominant Occupancy Owner
Market for this type of property Remained Stable
Market for this type of property REO% 0
Market for this type of property Short Sale % 0)
Range of Value is this area: Low: $800,000 High: $1,050,000
Pride of Ownership Average
Does agent feel there will be a Resale Problem? Yes

 

 

 

Reason there will be a Resale Problem:

marketability.

It is located near a commercial establishments and traffic streets which will affect its

 

Do any environmental issues affect the value of the

property?

 

 

 

The neighborhood consists of Abingdon Rd to the North, 84th Ave to the South, Brevoort St to the East and 118th St to the West. It is located near
a commercial establishments and traffic streets which will affect its marketability. The market condition score is currently stable at this time.

IV. Marketing Strategy

Neighborhood Comments

 

 

 

anjen

 

 

 

 

90-120 Day Value Repaired Value 30 Day Value
Suggested List Price $981,000 $981,000 $941,000
Probable Sales Price $951,000 $951,000 $911,000

 

| have to search for similar properties which are compared and recently sold to value the subject property. Given the most weight is given to sold
comp 3 as it is similar in GLA. Due to a lack of similar comps in the area, it was unavoidable to overreach the GLA guidelines. This comp might be
older or newer in construction, therefore it compensates the difference in age. There are no alike comps in the exact area, therefore, it was
necessary to exceed the distance guidelines. | was not able to use 11882 Metropolitan Ave #7D located in the same building of the subject as it is
inferior in GLA over 50% compare to the subject. HOA fee is unknown. Due to scarcity of condominium in the area, it is inevitable to expand
distance search over 1 miles and GLA just to locate condo home since majority of the properties available in the area are cooperative properties. In

Comments Regarding Pricing Strategy

order to find the most similar to the subject property, it is unavoidable to overreach the guidelines.

Unique Property Conditions

 

 
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The attached Broker Price Opinion (BPO} has been completed outside of The Uniform Standards of Professional Appraisal Practice (USPAP). The BPO
is an evaluation tool and is not considered an appraisal of the market value of the property - it is an opinion of the probable sales price. SingleSource
completes BPO requests for property listing, REO analysis, loan due diligence, modifications, etc to aid our servicing customers. SingleSource BPO
reports are not eligible or appropriate for loan origination purposes.

 

V. Current Listings

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a Subject Listing #1 Listing #2 Listing #3
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8
Street Address BIge?. He AVE) 6945 108th St #8D 8309 Talbot St #4F | 11201 Queens Blvd #7C
City KEW GARDENS Flushing KEW GARDENS Forest Hills
State NY NY NY NY
Zip Code 11415 11375 11415 11375
Miles to Subject 1.5 0.2 0.9
Community Name No community name | No community name No community name No community name
Data Source Tax Records MLS MLS MLS
MLS Number 03322-1005 89072495 89075021 31979611
Original List Date 11/10/2019 7/30/2019 10/3/2019
Original List Price 898,000 935,000 999,000
Current List Price 0 898,000 915,000 999,000
Listing Type Arms Length: Arms Length Arms Length Arms Length
Days On Market 24 128 63
Year Built 2002 — 1955 1923 1991
_ Condition Average Average Average Average
View Residential Residential Residential Residential
Style/Design High rise condo High rise condo High rise condo High rise condo
# of Units 1 1 1 1
Gross Living Area 1,415 1,082 1,032 1,323
Bedrooms 2 7 3 2
Baths/Half Baths 2 0. 1 0 2 0 2 (0)
Basement No No No No
Basement Finished Slab Slab Slab Slab
Total Room # 4 4 5 4
Garage/Carport 0 On Street 0 On Street QO On Street QO On Street
Lot Size 0 Acres — O Acres O Acres O Acres
Other Located at 1st floor Located at 8th floor Located at 4th floor Located at 7th floor
Comments on Listing Comparables
x List comp 1 is both smaller to the subject in terms of GLA and age. FOREST ROYALE CONDO - SPONSOR'S SALE 8th FLOOR Oversized
= 2 Bedroom Full Bathroom Apartment Eastern Exposure Magnificent View Spectacular Renovation Custom Kitchen Granite
a Countertops Stainless Steel Appliances D/W Microwave Parquet Floors Custom Closets Crown moldings Doorman Ps 196 Three
Blocks to Express Train, $5,000 in a full bath, -$7,000 in floor location, Total adjustment: $39,720 Total adjusted price: $937,720

 

 

The active comp 2 is both smaller to the subject when it comes to living area $34,470 and year built $19,750. This is an extremely
rare oversized 3-bedroom / 2-bath condo in a beautiful Talbot Gardens. The building is conveniently located near Kew Gardens
Cinema, express subway, LIRR, shops, restaurants and PS 99. This unit features pre-war charm, high ceilings, hardwood floors,
wood-burning fireplace and huge rooms. Additionally, owners have access to a beautiful courtyard, roof-top deck, gym and laundry
room. -$1,500 in a bed, -$3,000 in floor location. Total adjustment: $49,720 Total adjusted price: $964,720

This listing comp is similar the home area but smaller in home age $2,750. 2 bed 2 full bath 1323 sq. ft. corner unit 89 sq. ft. balcony
washer dryer in unit. 12,000 sq, ft. health club, 60 ft. heated indoor lap pool, jacuzzi, steam room, sauna, professional massage
room, full workout room, professional ping pong table, billiard room, media, room, resident's lounge, kids playroom. 2000 sq. ft.
banquet room with full kitchen for parties, walk-in fridge for grocery deliveries, concierge service, 24 hr. doorman. -$6,000 in floor
location. Total adjustment: -$3,250 Total adjusted price: $995,750

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‘VI. Recent Sales

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a Subject Sale #1 Sale #2 Sale #3
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Street Address pei Bie ie AVE:! 11945 Union Toke #7B | 6945 108thSt#5B [11201 Queens Blvd #17C
City KEW GARDENS Flushing Flushing Flushing
State NY NY NY NY
Zip Code 11415 11375 11375 11375
Miles to Subject 0.57 1.5 0.92
Community Name No community name No community name No community name No community name
Data Source Tax Records Tax Record Tax Record Tax Record
MLS Number 03322-1005 03347-1018 02220-1014 02264-1061
Original List Price S $905,000 $920,000 $1,015,000
Original List Date 5/1/2019 4/14/2019 5/13/2019
List Price at Sale S $905,000 $920,000 $1,015,000
Sale Price 5 $890,000 $900,000 $990,000
Closing Date 9/10/2019 9/16/2019 11/6/2019
Type of Financing Conv Conv Conv Conv
Type of Sale Arms Length Arms Length Arms Length Arms Length
Days On Market 132 155 178
Year Built 2002 1971 1955 1991
Condition Average Average Average Average
View Residential Residential Residential Residential
Style/Design High rise condo High rise condo High rise condo High rise condo
# of Units Lice! 1 1 1
Gross Living Area 1,415 1,232 1,215 1,327
Bedrooms 2 2 2 2
Baths/Half Baths 2 0. 2 ) 2 0 2 0
Basement No No No No
Basement Finished Slab Slab Slab Slab
Total Room # 4 4 4 4
Garage/Carport 0 On Street O On Street 0 On Street O On Street
Lot Size Hi O Acres O Acres L__ O Acres QO Acres
Other Located at 1st floor Located at 8th floor Located at 4th floor Located at 7th floor
Overall Adjustment $18,220 $25,750 $-13,250
Adjusted Value $908,220 $925,750 $976,750
Comments on Sale Comparables
eo bold comp 1 is both smaller to the subject in terms of GLA $16,470 and age $7,750. 11945 Union Tpke # 7B, Flushing, NY is a condo
= home that contains 1,232 sq ft and was built in 1971. This home last sold for $692,500 in August 2018. -$6,000 in floor location.

 

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e#IeES

The sale comp 2 is both smaller to the subject when it comes to living area $18,000 and year built $11,750. two bed/two bath condo
with terrace in luxury forest royale! heart of forest hills! just minutes from shops, subway & lirr! custom renovated! no detail
overlooked! ps196 & ps303 school district! dog friendly! parking available! 1215 interior space! 68 sq foot terrace. -$4,000 in floor

location.

 

This sold comp is similar in the home area but smaller in home age $2,750. BRING ALL OFFERS! Gorgeous and newly renovated high
floor two bedroom corner unit at The Pinnacle, Forest Hills's most sought after luxury condominium, offers breathtaking
unobstructed views for miles and miles through panoramic windows, This apartment features; colossal living room with dining area,
2 large balconies and 2 marble bathrooms. Given the most weight is given to sold comp 3 as it is similar in GLA. -$16,000 in floor

location.

 

 
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Vil. Subject Photograph Addendum } 20 om aa rus Pens 4 ee ra ree Te it

 

 

 

Subject Front

 

 

 

Subject Street

 

 

 

Subject Address

 

 

 

 

 

 

 
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VIII. Current Listings Photograph Addendum

 

 

Current Listing 1

6945 108th St #8D
Flushing, NY 11375
Orig List Date: 11/10/2019
List Price: $898,000

Sq. Ft.: 1,082

Miles to Subject 1.5

 

Current Listing 2

8309 Talbot St #4F

KEW GARDENS ,NY11415
Orig List Date: 7/30/2019
List Price: $915,000

Sq. Ft.: 1,032

Miles to Subject 0.2

 

Current Listing 3

11201 Queens Bivd #7C
Forest Hills, NY 11375
Orig List Date: 10/3/2019
List Price: $999,000

Sq. Ft.: 1,323

Miles to Subject 0.9

 

 

 

 
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IX, Recent Sales Photograph Addendum

 

Recent Sale 1

11945 Union Tpke #7B
Flushing, NY 11375
Closing Date: 9/10/2019
Sale Price: $890,000

Sq. Ft.: 1,232

Miles to Subject 0.57

 

 

Recent Sale 2

6945 108th St #5B
Flushing, NY 11375
Closing Date: 9/16/2019
Sale Price: $900,000

Sq. Ft.: 1,215

Miles to Subject 1.5

 

 

Recent Sale 3

11201 Queens Blvd #17C
Flushing, NY 11375
Closing Date: 11/6/2019
Sale Price: $990,000

Sq. Ft.: 1,327

Miles to Subject 0.92

 

 

 

 
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iX. Additional Photograph Addendum

 

 

 

 

Left side

 

 

Right side

 

 

 

 

 
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Xl.Map We 3 fs

 

 

 

 

0/19 14:06:50
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Mvrtio Ac Medical Center
FOREST PARK 2 eee acs cgarme tll
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mie pati un ‘ @ et os pve
Gocgle Map data’@2019 Google
Subject Property: 14882 Metropolitan Ave, Unit 1F
Comperable Listings. Distance Recent Sales Distance
6945 108th St #8D 1.5mi (4) 11945 Union Tpke #7B 0:57 mi.
8309 Talbot St #4F O.2mi1 (2) 6945 108th St #58 4.Smi.
41201 Queens Bivd #7C O.2mi. 3) 11201 Queens Blvd #17C

0.92mi.

 

 
